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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
UNITED STATES OF AMERICA

       VS                                                 CASE NO.   3:00cr48/LAC/MD
                                                                     3:05cv204/LAC/MD

PHILLIP NESMITH

                                    REFERRAL AND ORDER

Referred to Magistrate Judge Davis on    December 8, 2006
Type of Motion/Pleading: MOTION FOR RECONSIDERATION ON ORDERS TO GRANT
DISCOVERY ITEMS.
Filed by: DEFENDANT              on 12/8/06       Document 1556
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
                                 on               Doc.#
                                 on               Doc.#
                                 WILLIAM M. McCOOL, CLERK OF COURT

                                                /s/ Teresa Cole
                                               Deputy Clerk: Teresa Cole

                                               ORDER
Upon consideration of the foregoing, it is ORDERED this 10th day of
January, 2007, that:
(a)    The requested relief is DENIED.
(b)




                                               /s/   Miles Davis
                                               MILES DAVIS
                                               UNITED STATES MAGISTRATE JUDGE




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                                Document No.
